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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION- LONDON
                                    CIVIL MINUTES-GENERAL

CASE NO: 6:17-CV-157-CHB-HAI                 AT: London               DATE: November 6, 2018

STYLE:      David Wilson, Adm. of Estate of Lisa Noble v. Beacon Transport, LLC, et al.


PRESENT: HON. HANLY A. INGRAM, MAGISTRATE JUDGE

         Sheila Douglas                                               Audio File Number
         Deputy Clerk                                                 Court Reporter

I, Sheila Douglas, Deputy Clerk, CERTIFY the official record of this
proceeding is an audio file KYED-LON_6-17-CV-157-CHB-HAI_20181106_145937.

ATTORNEYS PRESENT FOR PLAINTIFF:                        ATTORNEY PRESENT FOR DEFENDANTS:
Timothy Lange                                           Harlan Judd

 PROCEEDINGS: TELEPHONIC CONFERENCE CALL

      This matter was scheduled for a telephonic conference with counsel participating as noted.

      Counsel for Defendant asked for guidance and understanding of the Court’s order at DE #96.
      After hearing from counsel, for the reasons and in the manner stated, IT IS ORDERED as
 follows:

      1.      Defendants are GRANTED leave to file a motion for sanctions under Rule 37 on or before
              November 16, 2018. Plaintiff SHALL respond on or before November 30, 2018, and the
              motion will then stand submitted for decision. The leave granted to Defendants does not
              include allowing Defendants to renew their motion for leave to take the depositions addressed
              by the Order at Docket Entry 96.

      2.      The deadline for filing objections to the Court’s Order at Docket Entry 96 is hereby
              EXTENDED to the same date for objections to the Court’s future ruling on the motion
              allowed by paragraph 1 above.

COPIES TO:

COR
Clerk=s Initials: syd

  TIC: 18 min.
